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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

J. LEE,

                Plaintiff,
                                                                       No. 1:17-CV-01230-JB-LF
v.

THE BOARD OF REGENTS OF THE
UNIVERSITY OF NEW MEXICO, and
GARNETT S. STOKES, in her official capacity
as the President of the University of New Mexico,

                Defendants.

                    JOINT MOTION TO AMEND SCHEDULING ORDER

          COMES NOW Plaintiff, J. Lee, and Defendants, The Board of Regents of the University

of New Mexico (“UNM”) and Garnett S. Stokes, and hereby move the Court to amend the

Scheduling Order [Doc. 51] to extend certain deadlines and to reset the Motion Hearing, Pretrial

Conference, and Bench Trial. As grounds for this Joint Motion, the parties state:

          1.    The deposition of Plaintiff was commenced on August 30, 2019, but it was not

able to be completed. The parties have agreed to finish the deposition of Plaintiff on a later date,

but the parties are unlikely to be able to complete the deposition of Plaintiff in advance of the

current deadline for filing dispositive motions.

          2.    Defendant UNM served its First Set of Interrogatories, Requests for Production,

and Requests for Admission to Plaintiff, which responses were due on September 3, 2019.

Defendant UNM first agreed to extend the deadline to September 11, 2019, for Plaintiff to serve

his discovery responses and then subsequently has agreed to indefinitely extend the deadline for

Plaintiff to serve his discovery responses pending possible settlement discussions.
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        3.         The parties have mutually agreed that it would be appropriate to extend certain

deadlines by sixty (60) days to complete pending discovery and to possibly explore settlement

discussions. The parties request that the termination date for discovery be extended by sixty (60)

days—from September 3, 2019, to November 4, 2019—for the limited purpose of allowing the

parties to complete currently-pending discovery. The parties also request the following

extensions of deadlines:

        Deadline                                 Current Deadline               New Deadline

        Motions relating to discovery            September 23, 2019             November 22, 2019

        Pretrial motions                         October 3, 2019                December 2, 2019

        Pretrial Order                           November 18, 2019              January 17, 2020
        (Plaintiff to Defendants)

        Pretrial Order                           November 29, 2019              January 28, 2020
        (Defendants to Court)

        4.         In light of the requested extensions of deadlines, the parties also request that the

Court reset the Motion Hearing (currently set for November 6, 2019, at 8:30 a.m.), the Pretrial

Conference (currently set for December 2, 2019, at 8:30 a.m.), and Bench Trial (currently set for

the trailing docket beginning on December 9, 2019, at 9:00 a.m.) to dates in line with the

requested extensions.

        5.         Plaintiff’s counsel is currently scheduled for a 5- to 7-day trial in another matter

in Los Lunas, New Mexico, on a trailing docket from January 27, 2020, to February 3, 2020, and

respectfully requests that the Court reset the Pretrial Conference and Bench Trial for this matter

after that time.




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       6.      The parties will concurrently submit a proposed Stipulated Amended Scheduling

Order for the Court’s consideration.

       WHEREFORE, the parties jointly request that the Court amend the Scheduling Order to

extend certain deadlines and to reset the Motion Hearing, Pretrial Conference, and Bench Trial to

allow the parties to complete currently-pending discovery and to possibly explore settlement

discussions.

                                            Jointly Submitted:

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                                            and

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                                                   /s/ Quentin Smith
                                            By: ______________________________________
                                                   Quentin Smith


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